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                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                         Bankruptcy Judge Thomas B. McNamara


  In re:
                                                Bankruptcy Case No. 19-10286 TBM
  11380 SMITH RD LLC,                           Chapter 7

  Debtor.
_______________________________________________________________________

 ORDER ON 11380 EAST SMITH RD INVESTMENTS, LLC MOTION FOR ENTRY OF
     ORDER PURSUANT TO COURT APPROVED STIPULATED AGREEMENT
_______________________________________________________________________

       THIS MATTER comes before the Court on the “Motion for Entry of Order Pursuant
to Court Approved Stipulated Agreement” (Docket No. 6, the “Motion”) filed by 11380 East
Smith RD Investments, LLC (the “Lender”). The Lender seeks an order granting it relief
from the automatic stay of 11 U.S.C. § 362(a) which went into effect upon the filing of the
Involuntary Petition (Docket No. 2) in this Chapter 7 case (the “Involuntary Case”) against
the Debtor, 11380 Smith RD LLC (the “Debtor”). The Debtor’s case is essentially a single
asset real estate case and the Lender is secured by the real property which is the sole
asset of the Debtor.

       Also pending before the Court is the voluntary Chapter 11 Case of the Debtor: In re
11380 Smith RD LLC, 18-10965 TBM (Bankr. D.Colo.) (the “Prior Chapter 11 Case”). In
that case, the Lender, the Debtor and the principal of the Debtor negotiated a Stipulated
Agreement (Docket No. 98-2 in the Prior Chapter 11 Case, the “Stipulated Agreement”) to
resolve the Lender’s Motion for Relief from Stay filed in the Prior Chapter 11 Case. The
Debtor defaulted on the terms of the Stipulated Agreement and the Lender obtained an
order confirming that it was granted relief from stay to proceed to foreclose on the
Debtor’s real property. (Docket No. 160 in the Prior Chapter 11 Case, the “Order”.) The
Order entered on January 7, 2019 and this Involuntary Case was filed on January 16,
2019. The Lender asserts that its foreclosure sale of the Debtor’s real property was
scheduled for 10:00 a.m. that day.

         The Lender asks this Court to grant it relief from the stay in this Involuntary Case
based upon the terms of the Stipulated Agreement entered into in the Prior Chapter 11
Case. The Lender, however, has not filed a motion for relief from stay pursuant to and in
accordance with L.B.R. 4001-1 in this Involuntary Case. The record of this Involuntary
Case reflects that the Lender filed a Motion to Dismiss this Involuntary Case as a bad
faith filing. (Docket No. 7.) Furthermore, the Lender alleges in its Motion and the Motion
to Dismiss facts which may entitle it to more expedited relief from stay. However, the
Prior Chapter 11 Case and this Involuntary Case are separate cases. So, a new motion
for relief from stay must be filed in this Involuntary Case. Any new motion for relief from
stay may be predicated on the Stipulated Agreement. Accordingly, the Court

       ORDERS that the Lender’s Motion as framed is DENIED without prejudice;
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      FURTHER ORDERS that in preparation for filing its new motion for relief from stay
and pursuant to L.B.R. 4001-1(a)(1), the Lender may select from the calendar of available
hearing dates for the undersigned judge a proposed hearing date which is approximately
14 days, more or less, from the filing of the new motion for relief from stay;

      FURTHER ORDERS the Lender shall advise in its Notice (L.B.F. 4001-1.1) that
any objection to the new motion shall be filed by a specific date that is seven days prior to
the hearing date selected in accordance with L.B.R. 4001-1(a)(1) and this order; and

      FURTHER ORDERS that except as modified by this order, the prosecution of the
new motion, any objection thereto, and any hearing thereon shall be governed by L.B.R.
4001-1(a) and (c).

       DATED this 30th day of January, 2019.

                                                 BY THE COURT:




                                                 Thomas B. McNamara,
                                                 United States Bankruptcy Judge
